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            EXHIBIT 3
         to the Declaration of Qifan Huang
        PUBLIC VERSION - REDACTED
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                                                                      Page 1
               UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA


MARIA SCHNEIDER, UNIGLOBE
ENTERTAINMENT, LLC, and AST
PUBLISHING LTD., individually
and on behalf of all others
similarly situated,
                  Plaintiffs,
                                        Case No.:
                  v.                    3:20-cv-04423-JD
YOUTUBE, LLC; and GOOGLE
LLC,

               Defendants.
_____________________________


                        CONFIDENTIAL
        VIDEOTAPED DEPOSITION OF JULIAN BILL


                         June 22, 2022
                           9:09 a.m.

                       Magna Legal Services
                           866-624-6221
                         www.MagnaLS.com

           44 Montgomery Street, 41st Floor
                San Francisco, California


REPORTED BY:
Siew G. Ung
CSR No. 13994, RPR, CSR
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                                                  Page 2                                                            Page 4
 1   APPEARANCES:                                           1             INDEX TO EXHIBITS
 2
 3    For Plaintiffs:                                       2               JULIAN BILL
 4       KOREIN TILLERY, LLC                                3           WEDNESDAY, JUNE 22, 2022
         CAROL O’KEEFE, ESQ.
 5       505 North 7th Street, Suite 3600                   4           Siew G. Ung CSR No. 13994, RPR
         St. Louis, Missouri 63101                          5
 6       314.241.4844
         cokeefe@koreintillery.com                          6   MARKED               DESCRIPTION             PAGE
 7                                                          7
         RYAN Z. CORTAZAR, ESQ.
 8       205 North Michigan, Suite 1950                     8   Exhibit 121      Packet of Documents         40
         Chicago, Illinois 60601                            9                 (GOOG-SCHNDR-00000924 to
 9       312.641.9750
         rcortazar@koreintillery.com,                      10                 GOOG-SCHNDR-00001058)
10                                                         11
      For Defendants:
11                                                         12   Exhibit 122      Pre-Publish Checks V1 Pro    130
         WILSON SONSINI GOODRICH & ROSATI
12       PROFESSIONAL CORPORATION
                                                           13                 (GOOG-SCHNDR-00041470 to
         ELI B. RICHLIN, ESQ.                              14                 GOOG-SCHNDR-00041476)
13       CATHERINE HARTMAN, ESQ.                           15
         1301 Avenue Of The Americas 40th Floor
14       New York, New York 10019                          16   Exhibit 123       Documents (GOOG-SCHNDR-00038782 158
         212.497.7781
15       erichlin@wsgr.com
                                                           17                 to GOOG-SCHNDR-00038807)
         chartman@wsgr.com                                 18
16
         GOOGLE (in-house)                                 19
17       JOHN JANHUNEN, ESQ.                               20
18
19                                                         21
20     Also Present:                                       22
21       RANDALL THIEBEN, Videographer
22                                                         23
23                                                         24
24
25                                                         25


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 1                      INDEX TO EXAMINATIONS               1         (Exhibits Continued)
 2                                                          2   MARKED           DESCRIPTION                        PAGE
 3              WITNESS: Julian Bill                        3
 4      EXAMINATION                                PAGE     4   Exhibit 124        YouTube In-Flight Report: Manual 190
 5      BY MS. O'KEEFE                              7       5                  Claiming Changes
 6      BY MR. RICHLIN                             221      6                  (GOOG-SCHNDR-00038961 to
 7                                                          7                  GOOG-SCHNDR-00038965)
 8                                                          8
 9                                                          9   Exhibit 125       Brandon's Quick Guide to 196
10                                                         10                  CIMA/CLA apps
11                                                         11                  (GOOG-SCHNDR-00001289 to 1290)
12                                                         12
13                                                         13   Exhibit 126        Addressing creator feedback and 200
14                                                         14                  an update on my 2019 priorities
15                                                         15                  by Susan Wojcicki
16                                                         16                  (GOOG-SCHNDR-00021200 to
17                                                         17                  GOOG-SCHNDR-00021204)
18                                                         18
19                                                         19   Exhibit 127       Master Launches, Master CommDoc 204
20                                                         20                  (GOOG-SCHNDR-00053755 to
21                                                         21                  GOOG-SCHNDR-00053763)
22                                                         22
23                                                         23
24                                                         24
25                                                         25


                                                                                            2 (Pages 2 to 5)
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                                                Page 6                                                      Page 8
 1             SAN FRANCISCO, CALIFORNIA;                    1       A. I worked in the AdSense syndication
 2         WEDNESDAY, JUNE 22, 2022, 9:09 A.M.               2   division. The actual division was called PSO, the
 3                    ***                                    3   Partner Services Organization.
 4          THE VIDEOGRAPHER: Good morning, everyone.        4       Q. And what does a sales engineer do?
 5   We are on the record. This begins Videotape No. 1       5       A. My job was to partner with -- with
 6   in the deposition of Julian Bill in the matter of       6   business development to be responsible for the
 7   Maria Schneider versus YouTube, LLC.                    7   technical aspects of our advertising syndication
 8          It is being heard in the US District             8   deals with large publishers.
 9   Court, Northern District of California,                 9           THE REPORTER: Technical aspects of?
10   San Francisco Division. The case number is             10           THE WITNESS: AdSense syndication deals.
11   3:20-cv-04423-JD. Today is Wednesday, June 22nd,       11   So AdSense is a -- a Google products, where we can
12   2022. The time now is 9:10 a.m. Pacific.               12   run Google Ads from third-party sites.
13          This deposition is being taken at the law       13           MR. RICHLIN: Mr. Bill, when she asks you
14   offices of Boies Schiller Flexner at 44 Montgomery     14   a question, she just wants to hear the word again.
15   Street, 41st floor, San Francisco, California 94104,   15           THE WITNESS: I see.
16   at the request of the New York office of Boies         16           MR. RICHLIN: She's transcribing it.
17   Schiller Flexner LLP.                                  17   BY MS. O'KEEFE:
18          My name is Randall Thieben. I'm the             18       Q. So was your first role at Google as part
19   videographer from Magna Legal Services. And our        19   of the Google Ads team?
20   court reporter today is named Siew Ung of Magna        20       A. It was part of Google AdSense team, which
21   Legal Services.                                        21   is distinct from the Google Ads teams.
22          If counsel and all parties present can          22       Q. Okay. And describe what AdSense does?
23   please state their appearances and whom they           23       A. AdSense is a product offered by Google
24   represent.                                             24   whereby a third-party website can run Google Ads on
25          MS. O'KEEFE: Carol O'Keefe of                   25   their -- on their sites and then share the revenue

                                                Page 7                                                      Page 9
 1   Korein Tillery on behalf of the plaintiffs. With me     1   with Google.
 2   is Ryan Cortazar also of Korein Tillery.                2       Q. And am I correct that uploaders and
 3          MR. RICHLIN: Eli Richlin of Wilson               3   channels who monetize on YouTube must have an
 4   Sonsini Goodrich & Rosati for defendants, as well as    4   AdSense account?
 5   the witness. With me is my colleague Catherine          5         MR. RICHLIN: Objection to form.
 6   Hartman and John Janhunen, who is in-house counsel      6         You can answer.
 7   with Google.                                            7         THE WITNESS: Okay. Yes. The reason I
 8          MS. O'KEEFE: Can you swear the witness?          8   paused there is because that -- the product -- the
 9          THE VIDEOGRAPHER: Great. Thank you               9   AdSense products I worked on before was not
10   everyone.                                              10   associated with the issue.
11          And if the court reporter can please swear      11   BY MS. O'KEEFE:
12   in the witness, we are ready to go.                    12       Q. All right. And how long were you in that
13                 JULIAN BILL,                             13   role?
14     having been first duly sworn, was examined and       14       A. I worked for PSO until it became -- it
15             testified as follows:                        15   became gTech, which is a different organization that
16           EXAMINATION BY MS. O'KEEFE                     16   I worked at until 2015.
17       Q. Good morning, Mr. Bill.                         17       Q. And what is gTech?
18       A. Good morning.                                   18       A. gTech was a rebranding for the same
19       Q. Let's start off with your employment at         19   organization, Google Technology Services.
20   Google.                                                20       Q. And what were your role -- your roles
21          When did you start working there?               21   were -- did they remain the same under the
22       A. I first started at Google there in 2006.        22   rebranding?
23       Q. And what was your first role there?             23       A. So I started as a sales engineer, and then
24       A. I was a sales engineer.                         24   I became a technical account manager. And then I
25       Q. In -- in what division of Google?               25   moved into a role where I was managing the technical

                                                                                       3 (Pages 6 to 9)
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                                               Page 66                                                     Page 68
 1       A. I do not.                                        1   based in the United States.
 2       Q. Okay. What is the name of the audiovisual        2       Q. Who on the Content ID Core engineering
 3   fingerprinting technology?                              3   team is based in the United States?
 4       A. I would refer to it as audiovisual               4       A. None of them.
 5   matching.                                               5       Q. Okay. Does anyone who reports to Fabio
 6       Q. How accurate is Content ID's matching            6   Magagna work in the United States?
 7   technology?                                             7       A. Yes.
 8          MR. RICHLIN: Objection to form.                  8       Q. Who?
 9          THE WITNESS: As we talked earlier, we --         9       A. Kevin Zhu.
10   pre- -- precision is a key measure of -- of our        10       Q. So we discussed the manual claiming
11   system. So we -- we tune it to be precise.             11   process which is designed to find the videos that
12          THE REPORTER: We what to be precise?            12   copy creator content but are not surfaced by the
13          THE WITNESS: We tune it to be precise.          13   Content ID matching technology, correct?
14   BY MS. O'KEEFE:                                        14       A. I'm sorry, can you repeat the question.
15       Q. How precise is your system today?               15       Q. We discussed the manual claiming
16       A. We aim to keep it at or above 99 percent        16   process --
17   precision.                                             17       A. Yeah.
18       Q. And when you say "at or above 99 percent        18       Q. -- which is designed to find videos that
19   precision," what is the numerator metric and what is   19   contain copyrighted content that is not found by the
20   the denominator metric?                                20   Content ID matching technology, correct?
21       A. It's based on a manual evaluation that we       21          MR. RICHLIN: Objection to form.
22   perform every month. So we sample a collection of      22          THE WITNESS: I'd say it slightly
23   videos, and we evaluate the -- a section of claimed    23   differently. It's designed to allow partners to
24   videos, and we evaluate the claims on those -- on      24   find videos that contain that -- that content.
25   that sample of videos.                                 25   ///

                                               Page 67                                                     Page 69
 1       Q. Okay. And what does the numerator                1   BY MS. O'KEEFE:
 2   represent?                                              2        Q. Are you aware of any instances in which
 3       A. The numerator represents the proportion of       3   Content ID generates a false match?
 4   those claimed videos that we classify as being          4          MR. RICHLIN: Objection to form.
 5   precise claims.                                         5          THE WITNESS: How would you define a
 6       Q. Okay. And what does the denominator              6   "false match"?
 7   represent?                                              7   BY MS. O'KEEFE:
 8       A. All of the claimed videos from the sample.       8        Q. Where Content ID says that an uploaded
 9       Q. I'm going to ask you a slightly different        9   video matches the digital fingerprint of a reference
10   question.                                              10   file, and that determination is incorrect?
11       A. Okay.                                           11        A. I'm not aware of any situation like that.
12       Q. How accurate is Content ID matching as          12        Q. Have you ever heard of any such situations
13   opposed to Content ID claiming?                        13   discussed at YouTube?
14       A. I don't know.                                   14        A. No.
15         MR. RICHLIN: Objection to form.                  15        Q. Let's go back to the Content ID onboarding
16   BY MS. O'KEEFE:                                        16   process.
17       Q. Okay. Who would know how accurate Content       17          When you have a new Content ID partner and
18   ID matching is?                                        18   they are in the manual review stage, what tools do
19         MR. RICHLIN: Objection to form.                  19   you provide them to refine their reference files and
20         THE WITNESS: I would need to consult with        20   improve the precision of their Content ID claims?
21   our engineering team.                                  21        A. We -- we have classifiers that will
22   BY MS. O'KEEFE:                                        22   process reference files provided by our partners,
23       Q. Okay. Who on the engineering team is            23   and attempt to flag portions of those reference
24   based in the United States?                            24   files as invalid.
25       A. Our rights management engineering team is       25        Q. What is a "classifier"?


                                                                                  18 (Pages 66 to 69)
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                                               Page 70                                                     Page 72
 1        A. A classifier is a name for a system that        1   codes. I don't recall whether we reject deliveries
 2   processes something and attempts to classify it         2   if they don't include ISRC codes.
 3   according to some set of rules.                         3        Q. How does the DDEX metadata stream work
 4        Q. So one of those classifiers would be            4   with Content ID?
 5   public domain content, correct?                         5        A. DDEX is a standard -- is -- is an umbrella
 6        A. We have a Public Domain Classifier.             6   term for standards for music supply chain
 7   that's not necessarily associated with reference        7   definition. We -- we ingest metadata described
 8   file classification.                                    8   using the DDEX standard.
 9        Q. How do you help Content ID partners             9        Q. And is an IR -- ISRC code part of that
10   identify public domain content within their            10   DDEX stream?
11   reference file?                                        11          THE REPORTER: Stream or string?
12        A. So our guidance to partners is to not          12          MS. O'KEEFE: Stream.
13   provide us with reference content that is public       13   BY MS. O'KEEFE:
14   domain.                                                14        Q. Can you think of any other metadata
15        Q. Okay. And if a Content ID partner makes a      15   associated with the audio reference files that is
16   mistake and in their initial reference file provides   16   used by the Content ID system?
17   the song "Happy Birthday to You" as part of the        17        A. No.
18   reference file, how do you identify that for the       18        Q. What metadata associated with audiovisual
19   Content ID partner?                                    19   reference files is utilized by the Content ID
20          MR. RICHLIN: Objection to form.                 20   system?
21          THE WITNESS: I don't know if "Happy             21        A. Name of the asset. Depending on the type
22   Birthday to You" is necessarily in the public          22   of the asset, it can be a movie or a TV episode, so
23   domain. That's a -- that's a big topic that you        23   you can provide metadata that describes the movie or
24   have brought up.                                       24   the TV episode.
25   ///                                                    25        Q. Uh-huh.

                                               Page 71                                                     Page 73
 1   BY MS. O'KEEFE:                                         1       A. They are the ones that I can recall.
 2       Q. Sorry, I knew I picked the wrong one.            2       Q. Approximately how many active Content ID
 3       A. But I understand the question.                   3   partners does YouTube have now?
 4       Q. We will look at the metadata associated          4       A. I don't recall.
 5   with the musical composition, and we will attempt to    5       Q. Where would you go to find that out?
 6   determine whether or not that musical work is in        6       A. I would consult with the Trust and Safety
 7   the -- the public domain.                               7   team.
 8           THE REPORTER: Did you say original              8       Q. What measures of accuracy do you use to
 9   composition?                                            9   evaluate the accuracy of the Content ID claiming
10           THE WITNESS: The musical composition.          10   system?
11           THE REPORTER: Musical. Okay. Sorry.            11         MR. RICHLIN: Objection to form.
12   BY MS. O'KEEFE:                                        12         THE WITNESS: Precision.
13       Q. What metadata do you routinely use as part      13   BY MS. O'KEEFE:
14   of the Content ID system?                              14       Q. Anything else?
15       A. So starting with sound recordings.              15       A. That's our key measure of accuracy.
16       Q. Uh-huh.                                         16       Q. Do you use any other measures?
17       A. A sound recording is delivered to us -- a       17       A. I don't know.
18   reference file name of the track, and ISRC, which is   18       Q. Do you measure the rate at which uploaders
19   and an identifier for a sound recording, ISRC, the     19   dispute Content ID claims?
20   artist name, release dates for the content. They       20       A. Yes.
21   are the ones, the main ones that I can recall.         21       Q. And in the context of that metric, how
22   There's probably more.                                 22   accurate is Content ID's claiming system?
23       Q. Do you require ISRC codes to be provided        23         MR. RICHLIN: Objection to form.
24   with all audio reference files?                        24         THE WITNESS: So a -- when a claim is
25       A. We strongly recommend a version of ISRC         25   disputed, that's independent of whether or not the


                                                                                  19 (Pages 70 to 73)
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                                             Page 122                                                    Page 124
 1   precluded by virtue of YouTube's rules from             1   permission to access that video.
 2   monetizing?                                             2       Q. Will an unlisted video surface in the
 3          MR. RICHLIN: Objection to form.                  3   Content ID search engine tool?
 4          THE WITNESS: So there -- I think there is        4       A. When you say the "Content ID search engine
 5   an assumption in that question that YouTube             5   tool," what you are referring to?
 6   precludes monetization in the event of -- of an         6       Q. I mean the search engine that is provided
 7   overlap.                                                7   as part of the Content ID management suite?
 8   BY MS. O'KEEFE:                                         8       A. Gotcha. I don't know.
 9        Q. Yes.                                            9       Q. Will an unlisted video surface in the
10        A. I don't know whether that's always true.       10   YouTube search bar?
11        Q. Okay. Let's assume it's true.                  11       A. By the YouTube --
12        A. Okay.                                          12       Q. By the users on the platform?
13        Q. In -- in any situation where YouTube           13       A. So our -- our regular user?
14   precludes monetization --                              14       Q. Yes.
15        A. Yep.                                           15       A. If the user knows the URL of the video,
16        Q. -- by Content ID partners, will YouTube        16   then they can put that into their browser, and they
17   still monetize that video?                             17   will be able to see the video.
18          MR. RICHLIN: Objection to form.                 18       Q. Other than the URL, will the unlisted
19          THE WITNESS: So in the situation where a        19   video surface based on a search that would
20   claim has been made where there's some ambiguity to    20   ordinarily hit on the metadata or tags associated
21   that claim, maybe multiple partners are asserting      21   with that video at the time of upload?
22   ownership on that same content or, as you say, maybe   22          MR. RICHLIN: Objection to form.
23   there is overlapping references, we would not run      23          THE WITNESS: I'm not sure I fully
24   ads of our own accord.                                 24   understand the question.
25   ///                                                    25   ///

                                             Page 123                                                    Page 125
 1   BY MS. O'KEEFE:                                         1   BY MS. O'KEEFE:
 2       Q. How many strikes can a Content ID partner        2       Q. Let's talk about a -- a video upload?
 3   receive on their channel before being subject to        3       A. Yeah.
 4   termination?                                            4       Q. When I upload my daughter's basketball
 5          MR. RICHLIN: Objection to form.                  5   video --
 6          THE WITNESS: So a channel can receive            6       A. Yeah.
 7   three strikes before -- before a channel is subject     7       Q. -- I have the opportunity to associate
 8   to termination.                                         8   tags with it, like, "Kayli O'Keefe and basketball,"
 9   BY MS. O'KEEFE:                                         9   "1997 and Motown soundtrack."
10       Q. Are the rules any differently applied for       10         Those tags are searchable in the YouTube
11   Content ID partners?                                   11   search bar, correct?
12          MR. RICHLIN: Objection to form.                 12         MR. RICHLIN: Objection to form.
13          THE WITNESS: Not that I'm aware of.             13         THE WITNESS: I don't know.
14   BY MS. O'KEEFE:                                        14   BY MS. O'KEEFE:
15       Q. What is an unlisted video?                      15       Q. How does the YouTube search bar operate?
16       A. An unlisted video is a video that an            16       A. I don't know. It's not my product area.
17   uploader has published but has not surfaced in         17       Q. You don't know. Well, what is your
18   search and discovery. So the only way another          18   understanding of the restrictions that are imposed
19   viewer could access that video is if the -- if the     19   upon unlisted videos?
20   URL had been shared.                                   20       A. My understanding of the intent of unlisted
21       Q. And how is an unlisted video different          21   videos is that there's a video URL that a -- that an
22   from a private video?                                  22   uploader can share with people that will allow them
23       A. A private video has an access control that      23   to access that video.
24   is associated with it. So the uploader has to          24         And that is -- that video is not
25   explicitly provide the channel, I think, with          25   discoverable otherwise.


                                                                              32 (Pages 122 to 125)
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                                            Page 126                                                     Page 128
 1       Q. So it wouldn't be discoverable from the         1   BY MS. O'KEEFE:
 2   YouTube search bar?                                    2       Q. And yet it could be seen by millions of
 3          MR. RICHLIN: Objection to form.                 3   users?
 4          THE WITNESS: So the YouTube search bar          4          MR. RICHLIN: Objection to form.
 5   being the -- the search bar that is on YouTube.com?    5          THE WITNESS: As mentioned, it's -- it's a
 6   BY MS. O'KEEFE:                                        6   URL that's unlisted but is accessible on the
 7       Q. Yes.                                            7   internet.
 8       A. Not as far as I know, no.                       8   BY MS. O'KEEFE:
 9       Q. And it wouldn't be discoverable from the        9       Q. Okay. Are you familiar with the different
10   Google search bar?                                    10   Content ID strategies for protecting intellectual
11          MR. RICHLIN: Objection to form.                11   property?
12          THE WITNESS: Not -- given what I               12          MR. RICHLIN: Objection to form.
13   understand about the intent of unlisted videos, no,   13          THE WITNESS: Can you explain more about
14   but I -- I don't work on search.                      14   what you are referring to?
15   BY MS. O'KEEFE:                                       15   BY MS. O'KEEFE:
16       Q. And can an unlisted video be embedded in       16       Q. Do you or other members of your team have
17   another non-Google website?                           17   discussions with Content ID users to develop
18          MR. RICHLIN: Objection to form.                18   claiming or monetizing or blocking policies that are
19          THE WITNESS: So can -- can it be embedded      19   designed to correlate with their goals regarding
20   as a YouTube --                                       20   their intellectual property?
21   BY MS. O'KEEFE:                                       21          MR. RICHLIN: Objection to form.
22       Q. As a URL?                                      22          THE WITNESS: So the -- the partner has
23       A. So you could link -- it's a URL. So if         23   the freedom to specify policies as they see fit.
24   you have the URL, you can access the video. And if    24   BY MS. O'KEEFE:
25   that URL is placed into another website, then yes,    25       Q. Uh-huh.

                                            Page 127                                                     Page 129
 1   the video can be found.                                1       A. With respect to the presence of their
 2       Q. So is it possible for unlisted videos to        2   content in user-uploaded videos. Me and my team,
 3   be seen by millions of viewers?                        3   we -- we don't engage with the partners like that.
 4          MR. RICHLIN: Objection to form.                 4       Q. Okay. But you have a background in
 5          THE WITNESS: It's a URL, I mean, so, yes.       5   advertising, right?
 6   BY MS. O'KEEFE:                                        6          MR. RICHLIN: Objection to form.
 7       Q. Okay. And yet it cannot be surfaced in          7          THE WITNESS: So, yeah, we used to
 8   the YouTube search bar?                                8   syndicate Google Ads to --
 9          MR. RICHLIN: Objection to form. Asked           9          THE REPORTER: Wait. Sorry.
10   and answered.                                         10          THE WITNESS: We used to syndicate Google
11          THE WITNESS: Yeah, I agree with --             11   Ads to third-party websites, yes.
12          THE REPORTER: Sorry?                           12   BY MS. O'KEEFE:
13          THE WITNESS: Asked and answered.               13       Q. All right. What is "RPM"?
14          THE REPORTER: No. Don't --                     14       A. Typically, it refers to revenue per
15          THE WITNESS: I agree. Yes.                     15   thousand views normally.
16   BY MS. O'KEEFE:                                       16       Q. And in terms of generating revenue, is
17       Q. So if Maria Schneider's song "Data Lords"      17   there a distinction, an important distinction
18   is uploaded by a YouTube user, and the video          18   between long-form user-generated content and
19   contains the soundtrack to her song, and it also      19   short-form user-generated content?
20   contains the cover of her album, and it is unlisted   20          MR. RICHLIN: Objection to form.
21   on the YouTube platform, she will not be able to      21          THE WITNESS: When you say a
22   search and find that video, will she?                 22   "distinction," what -- how would you define the
23          MR. RICHLIN: Objection to form.                23   distinction.
24          THE WITNESS: I -- I don't know. To the         24   BY MS. O'KEEFE:
25   extent of my knowledge, no.                           25       Q. Does long-form user-generated content


                                                                             33 (Pages 126 to 129)
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                                             Page 182                                                    Page 184
 1   BY MS. O'KEEFE:                                         1   in the middle of the page under "Open Items," it
 2       Q. And if the Creator had obtained a valid          2   says, "Partners want to change conditions to catch
 3   license to use the work prior to upload, then           3   more content. Test lowering of the conditions for
 4   presumably they would dispute the Content ID claim,     4   percentage of same artists on video to             "
 5   correct?                                                5          Why do partners want to catch more
 6          MR. RICHLIN: Objection to form.                  6   content?
 7          THE WITNESS: That's one of the mechanisms        7          MR. RICHLIN: Objection to form.
 8   by which they can address a claim made against their    8          THE WITNESS: I don't know. Actually I'm
 9   video.                                                  9   not sure what the background is to that particular
10          I -- I -- it's hard to reason about all         10   point.
11   the means by which a creator can obtain a license to   11   BY MS. O'KEEFE:
12   use content in -- in their video.                      12       Q. Move to page 7 of that document,
13          There are other mechanisms in the system        13   Bates number ending in 38788.
14   that allow -- partners can go in and release claims    14       A. Okay.
15   proactively.                                           15       Q. It states near the bottom, "Private videos
16       Q. Uh-huh.                                         16   disallowed in potential claims for short audio."
17       A. Or they can even whitelist channels or --       17          Why were private claims -- private videos
18   sorry -- allow those channels, which means that        18   being disallowed?
19   Content ID doesn't make claims on those videos for     19          MR. RICHLIN: Objection to form.
20   that product.                                          20          THE WITNESS: This specific -- so this --
21   BY MS. O'KEEFE:                                        21   this specifically refers to potential claims, not
22       Q. Are full -- are full album UGC uploads          22   automatic claims. So a potential claim -- I think
23   assessed a copyright strike under the DMCA?            23   when -- when we were talking about Safe Mode
24          MR. RICHLIN: Objection to form.                 24   earlier, we talked about potential claims.
25          THE WITNESS: So as mentioned before, I          25          So that's a case where Content ID, I think

                                             Page 183                                                    Page 185
 1   think a video that is designated as a full album        1   it could make a claim between an asset and a video
 2   upload doesn't say anything about copyright             2   where it requires the partner to review the claim
 3   infringement -- and sorry. The question was about       3   before it's actually made active on the video.
 4   whether they are assessed a strike?                     4   BY MS. O'KEEFE:
 5   BY MS. O'KEEFE:                                         5        Q. Uh-huh.
 6       Q. Whether they are assessed a copyright            6        A. One of the aspects of short matching -- as
 7   strike under the DMCA?                                  7   I -- as I mentioned, it's hard to maintain precision
 8       A. So a copyright strike is associated with a       8   the shorter the matches are on the video.
 9   takedown, which is a notification of copyright          9           So as we -- we rolled this feature out
10   infringement to YouTube.                               10   very carefully. And one of the things we did was --
11       Q. Uh-huh. And --                                  11   when -- when we made shorter matches, we surfaced
12          THE REPORTER: A notification of ...             12   those matches in a partner's potential claims queue
13          THE WITNESS: Copyright infringement.            13   and then required the partner to actually review the
14          THE REPORTER: Under the ...                     14   video to make a -- a human assertion of whether or
15          THE WITNESS: It's a take -- a strike -- I       15   not that video contained their content. And
16   forget what I said now. A strike is associated with    16   that's -- that's one mechanism that you can use
17   a takedown, which is a notification of copyright       17   to -- to increase the confidence, increase the
18   infringement to YouTube.                               18   precision.
19          THE REPORTER: UG?                               19           With respect to this particular feature,
20          THE WITNESS: YouTube.                           20   we are talking about potential claims, and we are
21          THE REPORTER: YouTube. Okay. Sorry.             21   talking about potential claims made on private
22          THE WITNESS: Sorry. I'm trying to talk          22   videos.
23   louder and more clearly.                               23           It's very important that we uphold the
24   BY MS. O'KEEFE:                                        24   privacy expectations of our users. So therefore if
25       Q. Moving to the next page of that document,       25   the video has been designated as private by a user,

                                                                              47 (Pages 182 to 185)
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                                              Page 186                                                   Page 188
 1   we can't make that private video available to a         1        Q. Why not?
 2   claimant to review.                                     2        A. So whether -- whether a claim gets
 3       Q. Uh-huh.                                          3   disputed or not isn't really a contact -- a
 4       A. Because it's been designated as private.         4   consequence of whether their claim is precise or
 5   Therefore, the claimant can't reasonably review that    5   not.
 6   claim in the context of the video because they don't    6          It -- we can -- we can make very precise
 7   know what the video is about. Therefore, it wasn't      7   claims, and they might -- can still be disputed if
 8   suitable for -- for this -- this aspect of our          8   the user believes they have the rights to use the
 9   attempts to increase recall in match claiming.          9   content in the video.
10       Q. Moving to the next page of this document,       10        Q. Moving to the next page of this document.
11   at the very bottom of the page, it talks about         11          "Allow for easier DDEX delivery. Partners
12   "Total Recall."                                        12   would like the custom policy in DDEX delivery to
13          What is the Total Recall Task Force?            13   take match conditions from saved policy to allow for
14       A. It's the project name for a lot of what we      14   easier scheduling, to be resolved before majors
15   we've just been discussing. So incr- --                15   migrate to DDEX for Content ID."
16       Q. And what was the goal of the Total Recall       16          What's the role of DDEX that is described
17   Task Force?                                            17   here?
18       A. It was to increase recall by making claims      18          MR. RICHLIN: Objection to form.
19   on shorter uses of music while maintaining             19          THE WITNESS: So I think what this refers
20   precision.                                             20   to is we used to have a proprietary protocol for
21       Q. Let's move to page 10 of this document          21   partners to deliver content to YouTube. It's
22   under "Short Audio Match Precision -- Precision"       22   commonly referred to as the XML protocol.
23   near the bottom, the second bullet says "Per           23          We wanted partners -- well, there was --
24   in-person meeting with UMG, they love getting these    24   there was basically industry demand to move to a
25   short matches and are excited we can catch this        25   more standardized supply chain delivery mechanism as

                                              Page 187                                                   Page 189
 1   content to decrease the manual claim work. The          1   defined by the DDEX standard.
 2   partner is excited for automatic matches to be made     2   BY MS. O'KEEFE:
 3   and to cut down on potential claim queue review."       3       Q. Uh-huh.
 4         Who is UMG?                                       4       A. So we worked with all of our partners to
 5       A. Universal Music Group.                           5   migrate them from the old proprietary XML format to
 6       Q. And why do they love getting these short         6   the DDEX format.
 7   matches?                                                7           But there were aspects of Content ID
 8         MR. RICHLIN: Objection to form.                   8   including referring to policies in the DDEX standard
 9         THE WITNESS: I -- I wasn't in that                9   that needed to be accounted for.
10   meeting. So I don't know.                              10           And I think we worked with the DDEX
11   BY MS. O'KEEFE:                                        11   standard parties to make that supportable in DDEX,
12       Q. Okay. But this is referring to short            12   and then we had to build that into the parser,
13   audio match that is automated as opposed to manual     13   the -- the thing that decoded DDEX deliveries.
14   claim, right?                                          14           THE REPORTER: And then we had to in --
15         MR. RICHLIN: Objection to form.                  15           THE WITNESS: Incorporate that into the
16         THE WITNESS: That appears to be the case,        16   parser, p-a-r-s-e-r. It's the parser's files. And
17   yes.                                                   17   then, that's what this refers to, I think -- and we
18   BY MS. O'KEEFE:                                        18   always refer to match policies in DDEX.
19       Q. And then looking at the first bullet            19           MS. O'KEEFE: All right. Ryan, let's mark
20   there, it says, "Greater than 12K short match claims   20   as Exhibit--
21   were made and only five (.04 percent) claims           21           MR. RICHLIN: Carol, before you go to the
22   disputed."                                             22   next exhibit --
23         Is that an example of a precision                23           MS. O'KEEFE: You want to take a break?
24   calculation as you have described them today?          24           MR. RICHLIN: Yeah. We have been going
25       A. No.                                             25   about an hour or so.

                                                                              48 (Pages 186 to 189)
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                                    Witness:
                                    Witness: Julian
                                             Julian Bill — June
                                                    Bill 一
                                                    Bi   — June 22,
                                                                22, 2022
                                                                    2022

                   Schneider v.
                   cj1zeider
                   Schneider 六v. YouTube,  LLC, No.
                                 YouTube, ZLC,
                                 yorx7rpe, LLC, No. 3:20-cv-04423-JD
                                                    3:20-cv-04423-JD (N.D.
                                                No.3:20-cv-04423-JD  (N.D. Cal.)
                                                                           Cal.)


                                                     Errata
                                                     Errata Sheet
                                                            Sheet



 Page:Line Change                                                                     Reason

一
or
8:11             Replace <products>
                Troe
                 Replace <products> with
                                    with <product>
                                         <product>                                    To clarify
                                                                                      To clarify the
                                                                                                 the record
                                                                                                     record

8:12
 8:12
8:02        |「Replaee
              | Replace
                Replace <from>
                        <from> with
                               with <on>
                                    <on>                                              To
                                                                                      To clarify
                                                                                         clarify the
                                                                                                 the record
                                                                                                     record

一
=
8:20                    <the> between
                 Insert <the>
                 Insert       between <of>
                                      <of> and
                                           and <Google
                                               <Google AdSense
                                                       AdSense || To
                                                                  To clarify
                                                                     clarify the
                                                                             the record
                                                                                 record
                 team>
                 team>

916
 9:16
9:06        | | Replace
                Repaee  <2015> with
                Replace <2015> with <2012>
                                    <2012>                                            To clarify
                                                                                      To clarify the
                                                                                                 the record
                                                                                                     record

 23:9 -          Replace <Insomuch
                 Replace   <Insomuch as           as it’s
                                                     it's  one of
                                                     it’s one   of thethe actions
                                                                           actions that
                                                                                     that || To
                                                                                             To clarify
                                                                                                clarify the
                                                                                                        the record
                                                                                                            record
 23:11           you can
                 you  can apply,
                           apply, the   the wayway youyou make
                                                             make aa claim
                                                                         claim aa video
                                                                                   video
                 as monetize
                 as monetize is  lsis 一—– is
                                          lsis one
                                                one of
                                                     of those
                                                          those actions>
                                                                 actions>
                 with <Insomuch
                 with  <Insomuch as          as monetization
                                                 monetization is   lsis aa claiming
                                                                           claiming
                 policy  that aa Content
                 policy that        Content ID     ID partner
                                                       partner cancan apply
                                                                          apply to
                                                                                 to aa



EECETTTTCTIT
                 Video
                 video  that matches
                 video that   matches the       the partner’s
                                                     partner”s
                                                     partner’s reference
                                                                  reference file>file>




em
 23:24           Replace <roles> with <rules>                                         To clarify the record



[IT
 32:12           Replace <they> with <I>                                              To clarify the record



[ETETTTIITTTTE
 41:20           Replace <Mihel> with <Michal>                                        To correct transcription error



CI
 42:9            Replace <do> with <use>                                              To correct transcription error



ET
 47:15           Replace <determine> with <it determines>                             To clarify the record



EEC
 50:10           Replace <he> with <we>                                               To correct transcription error



ET
 53:19           Replace <slash> with <question mark>                                 To clarify the record



EE      點 EE
 56:18           Replace <recreate> with <we create>                                  To clarify the record

 58:25           Replace <most> with <almost>                                         To correct transcription error

 62:18
 62:18           Replace <publishing
                 Replace  <publishing collection> with <publisher
                                      collection> with <publisher | To
                                                                    To correct
                                                                       correct transcription error
                                                                               transcription error



机 |
                 or
                 or collection>
                 Or collection>




還 NET
 71:4            Omit <Q.>                                                            To correct transcription error

 71:19           Omit <and>                                                           To clarify the record

 85:11
85:11
 85:11      |    Replace
                 Replace <denominator>
                         <denominator> with
                                       with <numerator>
                                            <numerator>                               To
                                                                                      To clarify
                                                                                         clarify the
                                                                                                 the record
                                                                                                     record
         Case 3:20-cv-04423-JD Document 301-7 Filed 04/07/23 Page 12 of 15

Witness:
Witness: Julian
         Julian Bill — June
                Bill 一
                     — June 22,
                            22, 2022
                                2022

Schneider v.
cj11leider
Schneider  v.冰 YouTube,     LLC, No.
               了 Yorx7zpbe, LLC,
               YouTube,     ZLC, No. 3:20-cv-04423-JD
                                     3:20-cv-04423-JD (N.D.
                                                      (N.D. Cal.)
                                                            Cal.)



3
85:13
85:13          Replace <claim>
               Replace <claim> with
                               with <claimant>
                                    <claimant>                            To correct
                                                                          To correct transcription
                                                                                     transcription error
                                                                                                   error

7
94:7           Replace <service>
               Replace <service> With <surface>
                                 with <surface>
                                 with                                     To correct
                                                                          To correct transcription
                                                                                     transcription error
                                                                                                   error

 100:23                 <the light
               Replace <the
               Replace        light of
                                    of Responses
                                       Responses to
                                                 to Objections>
                                                    Objections> “|| To
                                                                    To clarify
                                                                       clarify the
                                                                               the record
                                                                                   record
               with
               with <light  of YouTube’s
                    <light of  YouTube's   Responses and
                               YouTube’s Responses    and
               Objections>
               Objections>

 113:12 -                <So aa record
               Replace <So
               Replace           record label
                                         label is
                                                is -ls
                                                   —– is inherently what
                                                      is inherently  what || To
                                                                             To clarify
                                                                                clarify the
                                                                                        the record
                                                                                            record
 113:13        they
               they do>   with <That
                     do> with   <That is
                                       is inherently
                                           inherently what
                                                         what aa record
                                                                 record
               label does>
                      does>

[TI
               label



II
 117:18        Replace <formed> with <shown>                              To correct transcription error



ET
 119:7         Replace <definitely> with <differently>                    To correct transcription error



[有 CT
 127:15        Insert <Oh.> before <I agree>                              To correct transcription error



區 點 [本 TE 點 國 本
 141:24        Replace <off a> with <off>                                 To correct transcription error



[加 TE
    本
 148:18        Replace <content> with <Content ID>                        To correct transcription error

 154:16        Replace <chose> with <choose>                              To correct transcription error

6L15
 161:15     | Replace
              Replace <that
                      <that are
                            are able>
                                able> with <that we
                                      with <that    are able>
                                                 we are able> “| To
                                                                 To correct
                                                                    correct transcription
                                                                            transcription error
                                                                                          error

6623
 166:23        Omit <called
               Omit <called product
                            product 一
                                    –>                                    To clarify
                                                                          To clarify the
                                                                                     the record
                                                                                         record

leno
167:23-
167:23- Replace <the
        Replace <the content
                     content that
                             that he> with <Content
                                  he> with          ID> || To
                                           <Content ID>    To clarify
                                                              clarify the
                                                                      the record
                                                                          record
167:24
167:24

0
170:17
170:17         Replace <in
               Replace <in the>
                           the> with
                                with <and
                                     <and a>
                                          a>                              To correct
                                                                          To correct transcription
                                                                                     transcription error
                                                                                                   error

173:23
 173:23
 173:23     | Replace
              Replace <instances> with <partners>
                      <instances> with <partners>                         To
                                                                          To clarify
                                                                             clarify the
                                                                                     the record
                                                                                         record

17525
 175:25
 175:25     | Replace
              Replace <substitution
                      <substitution or>
                                    or> with <substitutional> “|
                                        with <substitutional> | To
                                                                 To correct
                                                                    correct transcription
                                                                            transcription error
                                                                                          error

 181:1 -                <under services,>
               Replace <under
               Replace           services,> with
                                            with <enter
                                                 <enter into
                                                         into       To clarify
                                                                    To clarify the
                                                                               the record
                                                                                   record
 181:2         agreements   with YouTube
               agreements with    YouTube pursuant
                                            pursuant to
                                                      to which
                                                         which they
                                                               they
               represent
               represent that>
                         that>

812
 181:2
 181:2         Replace <they
               Replace <they have>
                             have> with
                                   with <they
                                        <they need
                                              need to
                                                   to have>
                                                      have>               To clarify
                                                                          To clarify the
                                                                                     the record
                                                                                         record

點 大
 182:18
 182:18

182:20
 182:20
 182:20
               Replace
               Replace <allow>

            | Replace
                       <allow> with

              Replace <product>
                               with <allowlist>

                      <product> with
                                    <allowlist>

                                with <partner>
                                     <partner>
                                                                          To correct transcription error

                                                                          To clarify
                                                                          To clarify the
                                                                                     the record
                                                                                         record



                                                     2
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Witness:
Witness: Julian
         Julian Bill — June
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                     — June 22,
                            22, 2022
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Schneider v.
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                                     3:20-cv-04423-JD (N.D.
                                                      (N.D. Cal.)
                                                            Cal.)




E
ET
 202:6         Replace <monetized> with <monetize>                   To correct transcription error



EEC
 203:1         Replace <policies> with <policy>                      To correct transcription error



EEC
 203:2         Delete <content>                                      To correct transcription error



ET
 203:3         Replace <create> with <created>                       To correct transcription error



ET
 203:4         Replace <created> with <creator>                      To correct transcription error



EEC
 203:5         Replace <were being> with <that were then>            To clarify the record



ET
 203:6         Replace <monetizing> with <monetize>                  To clarify the record



ET
 203:12        Replace <monetized> with <monetize>                   To correct transcription error



ET
 208:22        Replace <pre-published> with <pre-publish>            To correct transcription error



ET
 209:23        Replace <asset> with <search>                         To correct transcription error



FI
 213:22        Replace <aggregated> with <aggregator>                To correct transcription error



ET
 214:3         Replace <to> with <would>                             To clarify the record

 215:88
2158         | Insert
               Insert <No>
                      <No> after
                           after <okay.>
                                 <okay.>                             To
                                                                     To  correct
                                                                      To correct transcription error
                                                                         correct transcription error
                                                                                                ror |

 215:10
 215:10        Replace
               Replace <Better
                        <Better ask
                                ask him>
                                    him> with
                                         with <you
                                              <you have better || To
                                                   have better    To correct
                                                                     correct transcription
                                                                             transcription error
                                                                                           error
Fir            eyes than
               eyes than me>
                         me>

2171
 217:11
271         | | Replace
                Replace <contact>
                        <contact> with <context>
                                  with <context>                     To clarify
                                                                     To
                                                                    To  clarify the
                                                                                the  record
                                                                                 the record
                                                                                     record

21921
 219:21
 219:21     | Replace
              Replace <User> with <users
                      <User> with        0 位
                                  <users of>
                                         of>                         To
                                                                     To correct
                                                                        correct transcription
                                                                                transcription error
                                                                                              error

2209
 220:9
 220:9         Replace <may>
               Replace <may> with
                             with <must>
                                  <must>                             To correct
                                                                     To correct transcription
                                                                                transcription error
                                                                                              error

 221:2
 221:2         Insert
               Insert <OK,
                      <OK, we
                           we have
                               have aa copy
                                       copy of
                                            of this
                                               this email.>
                                                    email.>          To
                                                                     To correct
                                                                        correct transcription
                                                                                transcription error
                                                                                              error
               between <MS.
               between  <MS. O’KEEFE:>
                              O’KEEFE:>     and <Do>
                               O' 下 EEFE:> and   <Do>

2215
 221:5
 221:5         Insert <even>
               Insert <even> between
                             between <don’t>
                                     <don'
                                     <don’t>亿 and
                                              and <know>
                                                  <know>             To correct
                                                                     To correct transcription
                                                                                transcription error
                                                                                              error

 221:6
 221:6         Replace
               Replace <that
                       <that it
                             it even>
                                even> with
                                      with <for whether it>
                                           <for whether it>          To
                                                                     To clarify
                                                                        clarify the
                                                                                the record
                                                                                    record




                                                 3
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